Filed 07/19/24                            Case 22-22056                             Doc 321



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: David R. Michal          Case No.: 22-22056 - C - 7
                                                 Docket Control No. KMT-11
                                                 Date: 07/19/2024
                                                 Time: 10:00 AM

            Matter: [310] - Motion/Application to Compromise Controversy/Approve
            Settlement Agreement with David R Michal [KMT-11] Filed by Trustee
            Kimberly J. Husted (dpas)

            Judge: Christopher M. Klein
            Courtroom Deputy: Lindsey Peratis
            Reporter: Electronic Record
            Department: C
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            Trustee - Kimberly J. Husted; Trustee's Attorney - Gabriel P Herrera
            Respondent(s):
            (by zoom) Debtor's Attorney - Aron M. Oliner; (by zoom) Creditor's
           Attorney - William J. Healy; (by zoom) Creditor's Attorney - Barry H.
           Spitzer; Creditor's Attorney - Benjamin Tagert; (by zoom) Accountant
           - Michael Gabrielson; (by zoom) Creditor's Attorney - Natali Ron
            _____________________________________________________________________
                                          CIVIL MINUTES


           Motion Granted
           Findings of fact and conclusions of law stated orally on the record


                 ORDER TO BE PREPARED BY: Mr. Herrera
                 ORDER TO BE APPROVED BY: Mr. Oliner
